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                                        December 23, 2019




 The Honorable Susan Oki Mollway                        Via Electronic Mail
 Senior Judge, United States District Court             (mollway_ orders@hid.uscourts.gov)
 Prince Kuhio Federal Building
 300 Ala Moana Boulevard
 Honolulu, Hawai'i 96850

              Re:      U. S. Equal Employment Opportunity Commission v.
                       MJC, Inc., et al., Civil No. 17-00371 SOM-WRP

 Dear Judge Mollway:

             This Jetter is submitted in response to this Court's EOs, issued on
 December 20'h and 23'd.

               In accordance with this Court's identified plan to dismiss the above
 referenced case, as well as Defendant s' understanding pursuant to my settlement
 discussions with Anna Park of the EEOC, Defendants respectfully request that this Court
 enter an order approving the parties' Consent to Settlement and dismissing this case.

              We thank this Court for its time and attention in resolving this matter.




                                              Joachim P. Cox

 JPC/jmd
 cc: Eric Yau, EEOC




                         800 Bethel Street, Suite 600, Honolulu, Hawaii 96813
